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                   IN THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF NEW JERSEY
 __________________________________________
                                            :
 SHANNON PHILLIPS                           :  CIVIL ACTION NO. 19-19432
 Woolwich Township, NJ 08085                :
                                            :
                           Plaintiff,       :
                                            :
              v.                            :  JURY TRIAL DEMANDED
                                            :
 STARBUCKS CORPORATION d/b/a/               :
 STARBUCKS COFFEE COMPANY                   :
 2401 Utah Avenue Suite 800                 :
 Seattle, WA 98134                         :
                                           :
                           Defendant.       :
 __________________________________________:

                                 SECOND AMENDED COMPLAINT


   I.      INTRODUCTION
        Plaintiff, Shannon Phillips, (“Plaintiff”), an approximately thirteen year employee, was a loyal,

 dedicated and high performing Regional Director for Defendant Starbucks Corporation d/b/a

 Starbucks Coffee Company (“Defendant”) tasked with overseeing operations of Defendant’s retail

 operations in Southern New Jersey, the Philadelphia region, Delaware and parts of Maryland.

 Following an arrest of two black men in a store within her region in April, 2018, Plaintiff worked

 tirelessly on behalf of Defendant to repair community relations while ensuring employee and

 customer safety. Weeks after the arrests and surrounding media coverage, Defendant took steps to

 punish white employees who had not been involved in the arrests, but who worked in and around

 the city of Philadelphia, in an effort to convince the community that it had properly responded to

 the incident. As part of Defendant’s efforts, Plaintiff was ordered to place a white employee (who

 had not had any involvement in the arrests) on administrative leave because of an allegation of
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 discriminatory conduct that Plaintiff knew to be false. Plaintiff provided information to Defendant

 that proved that the details of the allegation were factually impossible amid Defendant’s practices.

 Defendant ignored the information provided by Plaintiff. At the same time, Defendant did not take

 any steps to punish a black district manager who had been responsible for the management of the

 location where the arrests took place. Plaintiff was notified of her termination less than one month

 after the arrests on May 9, 2018. Plaintiff now brings claims pursuant to Title VII of the Civil

 Rights Act of 1964, as amended, 42. U.S.C. §2000e, et. seq. (“Title VII”), the Civil Rights Act of

 1866, as amended, 42 U.S.C. §1981 (“Section 1981”), and the New Jersey Law Against

 Discrimination, as amended, N.J.S.A. § 10:501, et seq.

  II.   PARTIES

 1.     Plaintiff, Shannon Phillips, is an individual and citizen of New Jersey.

 2.     Plaintiff is Caucasian/white.

 3.     Defendant Starbucks Corporation d/b/a Starbucks Coffee Company is organized under the

 laws of Washington with its headquarters located at 2401 Utah Avenue, South, Seattle,

 Washington, 98134.

 4.     At all material times, Defendant maintained locations throughout the State of New Jersey,

 including without limitation, in Haddonfield and other locations in Camden, County, New Jersey.

 5.     At all times material hereto, Plaintiff worked out of her home office in Woolwich, New

 Jersey and traveled to Defendants’ locations in New Jersey, Delaware, Maryland and

 Pennsylvania.

 6.     Defendant is engaged in an industry affecting interstate commerce and regularly does

 business in the State of New Jersey.




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 7.      At all times material hereto, Plaintiff worked for Defendant from her home in Woolwich,

 New Jersey and throughout the region assigned to her.

 8.      At all times material hereto, Defendant employed more than fifteen (15) employees.

 9.      At all times material hereto, Defendant acted by and through its authorized agents, servants,

 workmen, and/or employees acting within the course and scope of their employment with

 Defendant and in furtherance of Defendant’s business.

 10.     At all times material hereto, Defendant acted as an employer within the meaning of the

 statutes which form the basis of this matter.

 11.     At all times material hereto, Plaintiff was an employee of Defendant within the meaning

 of the statutes that form the basis of this matter.

 III.    JURISDICTION AND VENUE

 12.     The causes of action which form the basis of this matter arise under Title VII, Section 1981,

 and the NJLAD.

 13.     The District Court has jurisdiction over Count I (Title VII) pursuant to 42 U.S.C. §2000e-

 5 and 28 U.S.C. §1331.

 14.     The District Court has jurisdiction over Count II (Section 1981) pursuant to U.S.C. §1331.

 15.     The District Court has jurisdiction over Counts III (NJLAD) pursuant to 28 U.S.C. §1332

 since the amount in controversy exceeds the sum or value of seventy-five thousand dollars

 ($75,000), exclusive of costs and interest and as there is complete diversity of citizenship as

 Plaintiff is a citizen of New Jersey and Defendant is a citizen of Washington.

 16.     Venue is proper in this District Court under 28 U.S.C. §1391 (b) and 42 U.S.C. §2000e-

 5(f).




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 17.       On or about May 22, 2018, Plaintiff filed a Charge of Discrimination (“Charge”) with the

 Equal Employment Opportunity Commission (“EEOC”) complaining of acts of discrimination

 alleged herein. Attached hereto, incorporated herein and marked as Exhibit “1” is a true and correct

 copy of the EEOC Charge of discrimination (with personal identifying information redacted).

 18.       On or about July 30, 2019, the EEOC issued the Plaintiff a Notice of Right to Sue for her

 Charge of Discrimination. Attached hereto and marked as Exhibit “2” is a true and correct copy of

 the Notice (with personal identifying information redacted).

 19.       Plaintiff has fully complied with all administrative prerequisites for the commencement of

 this action.

 IV.       FACTUAL ALLEGATIONS

 20.       Plaintiff was hired by Defendant in or about December, 2005 as a District Manager based

 out of Youngstown, Ohio.

 21.       Amid her exemplary performance, Plaintiff was promoted in or about 2011 to Regional

 Director of Operations for a region encompassing Philadelphia and some Pennsylvania suburbs,

 Southern New Jersey, Delaware and parts of Maryland. This region was known to Defendant as

 “Area 71.” In total, Plaintiff oversaw operations for approximately one hundred (100) retail stores.

 22.       Plaintiff relocated to New Jersey for the Regional Director of Operations (“RD”) position.

 23.       At all times material hereto, Plaintiff was based out of her home office in Woolwich, New

 Jersey.

 24.       Plaintiff spent more than 51% of her time working for Defendant in New Jersey, with the

 remaining time divided among Delaware, Maryland and Pennsylvania.




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 25.    Plaintiff’s schedule/routine was such that she worked from her home office on Mondays

 and Fridays and visited her direct reports in their stores in southern New Jersey, Delaware,

 Maryland and Pennsylvania on Tuesdays, Wednesdays and Thursdays.

 26.    On several occasions each month, Plaintiff hosted trainings, round-table discussions or

 team meetings at Defendant’s Haddonfield, New Jersey location as it was the only location in

 Plaintiff’s region that had meeting space/a training room.

 27.    As RD, Plaintiff managed District Managers reporting to her and their portfolio stores. In

 addition, and without limitation, she was tasked with touring with real estate partners and brokers

 to find new locations for stores; developing new stores, partnering with other departments to

 coordinate resources such as vendors, assessing/determining financial impact of new stores on

 existing stores, managing special events (such as the Pope’s visit to Philadelphia) and coordinating

 community engagement efforts on behalf of Defendant.

 28.    Plaintiff initially reported to Joe Hallinan, Regional Vice President. Upon Hallinan’s

 retirement, Plaintiff reported to Victor Huetz (“Huetz”), Regional Vice President.

 29.    Beginning in or about 2015, Plaintiff reported to Camille Hymes (“Hymes”) (black), Vice

 President, Operations.

 30.    At all material times, Plaintiff received positive performance evaluations and related merit

 driven bonuses and salary increases.

 31.    Approximately nine (9) District Managers (“DM”) reported to Plaintiff. Each DM had

 responsibility for between ten and fourteen stores each and managed the Store Managers (“SM”)

 assigned to each retail location.

 32.    Two DMs were assigned stores in Philadelphia and reported to Plaintiff: Ben Trinsey

 (“Trinsey”) (white) and Paul Sykes (“Sykes”) (black).



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 33.    Sykes’s stores included a retail location at 18th and Spruce Street in Philadelphia, PA.

 34.    On or about April 12, 2018, two Black men were arrested at the 18th and Spruce Street

 location.

 35.    Plaintiff was not involved in the arrests in any way.

 36.    Upon learning of the arrest from Sykes, Plaintiff promptly notified Hymes from her New

 Jersey office.

 37.    Plaintiff immediately took steps to learn additional information about the events leading

 up to the events and to address strong community reaction following the events.

 38.    At the same time, amid substantial public sentiment against Defendant, Plaintiff actively

 sought to ensure the safety of Defendant’s employees and customers.

 39.    On or about April 14, 2018, Plaintiff went to the 18th and Spruce Street store with Hymes.

 Plaintiff worked with Sykes and the other Philadelphia area DM, Trinsey, to formulate a plan of

 support for Defendant, its stores and customers across the city of Philadelphia and to address the

 community’s concerns about the arrests. For example, and without limitation:

             a. Plaintiff brought all her DMs into the city with some of their SMs to offer additional

                  support to Defendant’s stores and customers;

             b. Plaintiff organized teams of management-level employees to work at the

                  approximately twenty Center City Philadelphia locations as hourly workers were

                  afraid to come to work amid community protests at Defendant’s retail locations;

             c. Plaintiff worked closely with her supervisors to understand what had happened at

                  the 18th and Spruce Location in an effort to determine appropriate next steps; and,

             d. Plaintiff organized multiple round-table events for Defendant’s company-founder

                  and Chairman Emeritus, Howard Schultz, in Philadelphia so that Defendant could



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                properly understand the issues surrounding the arrests and adequately address the

                public’s reaction.

 40.    By April 14, 2018, amid the arrests making local and national news, protests from the

 public took place outside and inside of the 18th and Spruce Street store.

 41.    At all material times, Plaintiff actively worked with her subordinates and her superiors to

 coordinate Defendant’s efforts at “crisis management” and ensure the safety of Defendant’s

 employees and customers at all of Defendant’s stores within the City of Philadelphia.

 42.    Plaintiff also took steps to ensure that the retail locations within her area were a safe and

 welcoming environment for all customers, regardless of race.

 43.    On April 23, 2018, Hymes encouraged Plaintiff to apply for a Temporary Limited

 Assignment position that was being created in Philadelphia to support Defendant’s Government

 and Community Affairs unit.

 44.    Plaintiff was well qualified for the position and she was interviewed. Substantial portions

 of the interview took place in New Jersey.

 45.    Following her interview, she was told on or about April 26, 2018 that the position was

 being put “on hold.”

 46.    On or about May 2, 2018, Defendant reached a settlement with the two men who had been

 arrested. According to Defendant’s website, “[t]he agreement between the parties stemming from

 the events in Philadelphia on April 12 will include a financial settlement as well as continued

 listening and dialogue between the parties and the specific action and opportunity.”

 47.    Defendant further stated, “And Starbucks will continue to take actions that stem from this

 incident to repair and reaffirm our values and vision for the kind of company that we want to be.”




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 48.    On or about May 4, 2018, Hymes told Plaintiff to take the weekend off. Hymes further told

 Plaintiff that she wanted to speak to employees without Plaintiff being present.

 49.    On or about May 7, 2018, Plaintiff was called to a meeting with Hymes, Nathalie Cioffi

 (“Cioffi”) (white), Partner Resources Director and Paul Pinto (“Pinto”) (white),Vice President,

 Partner Resources.

 50.    Plaintiff was ordered to set up a meeting with Trinsey the following morning and place

 him on suspension.

 51.    Trinsey was not involved in the April 12th arrests nor did he have any responsibility for the

 18th and Spruce Street store.

 52.    Trinsey did not have any performance issues.

 53.    Defendant told Plaintiff there would be an investigation into Trinsey’s conduct, including

 allegations of race discrimination that had been made against him.

 54.    Plaintiff objected to Defendant’s treatment of Trinsey and stated that Trinsey is not racist

 and that she had never observed any race discriminatory comments or conduct by Trinsey.

 55.    Plaintiff further explained that Trinsey was a fifteen (15) year employee of Defendant and

 that he volunteered every week with YouthBuild Philadelphia, an organization primarily servicing

 young, African American/black individuals.

 56.    Plaintiff believed that Trinsey was being falsely accused of racial bias because he was

 white and because Defendant was attempting to quell community response to actions taken by

 Defendant in which Trinsey had no involvement.

 57.    In response, Hymes stated that non-white, salaried managers at Trinsey’s stores had made

 claims that they were paid less than white employees.




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 58.     Plaintiff continued to object to Defendant’s treatment of Trinsey and explained to Hymes

 that Trinsey could not, by Defendant’s policies and procedures, determine salaried employee

 compensation. In fact, Plaintiff told Hymes, Trinsey could not have any input on employee

 salaries.

 59.     Plaintiff further stated that Defendant’s required process is to send employee resumes upon

 hire to Partner Resources. Upon receipt of the resume, Partner Resources, and not any DM, sets

 employee salaries.

 60.     Despite the information that Plaintiff provided to Hymes and Pinto indicating that the race-

 based allegations against him were factually impossible, Plaintiff was ordered to put Trinsey on

 suspension.

 61.     In contrast, Defendants did not take any action against Sykes, who is African

 American/black and was the DM responsible for the store where the men had been arrested. Sykes’

 subordinate, who he had promoted to the SM position, was responsible for making the call to

 police that lead to the arrests and the subsequent community reaction.

 62.     On that same day, from her New Jersey office, Plaintiff telephoned Ebony Johnson

 (“Johnson”) (black), Partner Resource Manager, and complained that Trinsey was being treated

 unfairly because of his race.

 63.     Johnson told Plaintiff “trust the process” and further instructed Plaintiff to put Trinsey on

 suspension.

 64.     On May 8, 2018, Plaintiff was told by Hymes that she should come to a meeting the

 following day ready to negotiate her separation package as she was being terminated.

 65.     The only reason given for her pending termination was “the situation is not recoverable.”




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 66.        When Plaintiff told Hymes, upon learning of her pending termination, that her performance

 had been exceptional and that she had last received a bonus only the month prior, Hymes agreed.

 67.        On May 9, 2018, Hymes and Pinto formally notified Plaintiff of her termination, effective

 immediately.

 68.        Defendant did not articulate any stated reason other than “the situation is not recoverable.”

 69.        Defendant’s stated reason is pre-text for race discrimination.

 70.        Plaintiff was replaced by substantially less qualified employees who had not complained

 of race discrimination by Defendant and had not been working in the region at the time of the

 arrests.

 71.        Plaintiff’s race was a motivating and/or determinative factor in Defendant’s discriminatory

 treatment of Plaintiff, including without limitation, in connection with her termination.

 72.        Plaintiff’s complaints of race discrimination were a motivating and/or determinative factor

 in Defendant’s discriminatory and retaliatory treatment of Plaintiff, including without limitation,

 in terminating her.

 73.        As a direct and proximate result of the discriminatory and retaliatory conduct of Defendant,

 Plaintiff has in the past incurred, and may in the future incur, a loss of earnings and/or earning

 capacity, loss of benefits, pain and suffering, embarrassment, humiliation, loss of self-esteem,

 mental anguish, and loss of life’s pleasures.

 74.        Plaintiff is now suffering and will continue to suffer irreparable injury and monetary

 damages as a result of Defendant’s discriminatory acts unless and until this Court grants the relief

 requested herein.

 75.        Defendant acted with malice and/or reckless indifference to Plaintiff’s protected rights.




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 76.     The conduct of Defendant, as set forth above, was outrageous and warrants the imposition

 of punitive damages against Defendant.

                                       COUNT I - TITLE VII
 77.     Plaintiff incorporates by reference paragraphs 1 through 76 above, as if set forth herein in

 their entirety.

 78.     By committing the foregoing acts of discrimination and retaliation against Plaintiff,

 Defendant has violated Title VII.

 79.     Said violations were done with malice and/or reckless indifference to Plaintiff’s protected

 rights, and warrant the imposition of punitive damages.

 80.     As a direct and proximate result of Defendant’s violation of Title VII, Plaintiff has suffered

 the damages and losses set forth herein and has incurred attorneys’ fees and costs.

 81.     Plaintiff suffered irreparable injury and monetary damages as a result of Defendant’s

 discriminatory acts unless and until this Court grants the relief requested herein.

 82.     No previous application has been made for the relief requested herein.

                                     COUNT II – SECTION 1981
 83.     Plaintiff incorporates by reference paragraphs 1 through 82 above, as if set forth herein in

 their entirety.

 84.     By committing the foregoing acts of discrimination against Plaintiff, Defendant has

 violated Section 1981.

 85.     Said violations were done with malice and/or reckless indifference to Plaintiff’s protected

 rights, and warrant the imposition of punitive damages.

 86.     As a direct and proximate result of Defendant’s violation of Section 1981, Plaintiff has

 suffered the damages and losses set forth herein and has incurred attorneys’ fees and costs.


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 87.     Plaintiff suffered irreparable injury and monetary damages as a result of Defendant’s

 discriminatory acts unless and until this Court grants the relief requested herein.

 88.     No previous application has been made for the relief requested herein.

                                          COUNT III - NJLAD
 89.     Plaintiff incorporates herein by reference paragraphs 1 to 88 above, as if set forth herein in

 their entirety.

 90.     Defendant, by the above-described discriminatory and retaliatory acts, has violated the

 NJLAD.

 91.     Defendant’s conduct as set forth herein was especially egregious.

 92.     Members of Defendant’s upper management had actual participation in, or willful

 indifference to, Defendant’s wrongful conduct described herein, and their conduct warrants the

 imposition of punitive damages against Defendant.

 93.     As a direct and proximate result of Defendant’s discriminatory and retaliatory conduct,

 Plaintiff has sustained the injuries, damages, and losses set forth herein, and has incurred attorney’s

 fees and costs.

 94.     Plaintiff is now suffering and will continue to suffer irreparable injury and monetary

 damages as a result of Defendant’ discriminatory, retaliatory, and unlawful acts unless and until

 this Court grants the relief requested herein.

 95.     No previous application has been made for the relief requested herein.

                                                  RELIEF
         WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection with

 Defendant’s improper conduct, and specifically prays that the Court grant the following relief to

 Plaintiff by:


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    a. Declaring the acts and practices complained of herein to be in violation of Title VII;

    b. Declaring the acts and practices complained of herein to be in violation of Section 1981;

    c. Declaring the acts and practices complained of herein to be in violation of the NJLAD;

    d. Enjoining and permanently restraining the violations alleged herein;

    e. Entering judgment against the Defendant and in favor of the Plaintiff in an amount to be

        determined;

    f. Awarding compensatory damages to make the Plaintiff whole for all lost earnings, earning

        capacity, and benefits, which Plaintiff has suffered as a result of Defendant’s improper

        conduct;

    g. Awarding compensatory damages to Plaintiff for past pain and suffering, emotional upset,

        mental anguish, humiliation, and loss of life’s pleasures, which Plaintiff has suffered as a

        result of Defendant’s improper conduct;

    h. Awarding punitive damages to Plaintiff under Title VII;

    i. Awarding punitive damages to Plaintiff under Section 1981;

    j. Awarding punitive damages to Plaintiff under the NJLAD;

    k. Awarding Plaintiff other such damages as are appropriate under Title VII, Section 1981,

        and the NJLAD;

    l. Awarding Plaintiff the costs of suit, expert fees and other disbursements, and reasonable

        attorneys’ fees; and

    m. Granting such other and further relief as this Court may deem just, proper, or equitable

        including other equitable and injunctive relief providing restitution for past violations and

        preventing future violations.




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                                       CONSOLE MATTIACI LAW LLC

 Dated: August 5, 2020                  BY:    /s/ Katherine C. Oeltjen_____
                                               Stephen G. Console, Esquire (040281983)
                                               Katherine C. Oeltjen, Esquire (57372013)
                                               1525 Locust Street, 9th Floor
                                               Philadelphia, PA 19102
                                               (215) 545-7676
                                               Attorneys for Plaintiff Shannon Phillips




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                 IN THE UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF NEW JERSEY
 ____________________________________
                                      :
 SHANNON PHILLIPS                     : Civil Action No. 2:19-cv-19432-RMB-AMD
                         Plaintiff,  :
       v.                            :      CERTIFICATE OF SERVICE
                                      :
 STARBUCKS CORPORATION                :
                                      :
                         Defendant. :
 ____________________________________:

        I, Katherine C. Oeltjen, hereby certify that I caused the foregoing Stipulation to File a

 Second Amended Complaint with accompanying Second Amended Complaint was made available

 for viewing and downloading for all counsel of record via the Court’s ECF system on this fifth day

 of August, 2020.

                                                                          /s/ Katherine C. Oeltjen
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